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            EXHIBIT A
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        DATES SET FORTH IN PROPOSED AGREED SCHEDULING ORDER

               EVENT                         Dropbox Proposal          Entangled Media
                                                                          Proposal
Parties may amend pleadings pursuant       To extent permitted, 45          Same
to Rule 15 without leave of court.           Days after Court’s
                                           decision on Defendant’s
                                           Motion to Dismiss (Dkt.
                                                     42).
Defendant shall serve its preliminary         December 7, 2023               Same
invalidity contentions in the form of
claim charts (and accompanying
document production) per Patent L.R.
3-3 and 3-4.
Parties shall concurrently exchange a         December 21, 2023              Same
preliminary list of claim terms and        (14 days after service of
identify any claim element a party          Invalidity Contentions)
contends should be governed by 35
U.S.C. § 112(f), per Patent L.R. 4-1(a).
Parties shall exchange proposed                January 11, 2024              Same
preliminary constructions with             (21 days after exchange
identification of extrinsic evidence,       of parties’ preliminary
including expert witness declarations,        list of claim terms)
per Patent L.R. 4-2.
Plaintiff to provide its Damages               January 26, 2024              Same
Contentions, per Patent L.R. 3-8           (50 days after service of
                                            Invalidity Contentions)
Parties complete and file the Joint            February 5, 2024              Same
Claim Construction and Prehearing          (60 days after service of
Statement and Expert Reports, per           Invalidity Contentions)
Patent L.R. 4-3
Defendant to provide its Responsive           February 26, 2024              Same
Damages Contentions, per Patent L.R.       (30 days after service of
3-9.                                        Damages Contentions)
Close of claim construction discovery,          March 6, 2024                Same
per Patent L.R. 4-4.                        (30 days after service
                                           and filing of Joint Claim
                                              Construction and
                                            Prehearing Statement)
Plaintiff shall file its Opening Claim         March 21, 2024                Same
Construction Brief, per Patent L.R. 4-      (45 days after service
5(a).                                      and filing of Joint Claim
                                              Construction and
                                            Prehearing Statement)
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               EVENT                          Dropbox Proposal          Entangled Media
                                                                           Proposal
Defendant shall file its Responsive               April 4, 2024              Same
Claim Construction Brief, per Patent      (14 days after service of
L.R. 4-5(b).                                     Opening Claim
                                              Construction Brief)
Plaintiff shall file its Reply Claim             April 11, 2024                Same
Construction Brief, per Patent L.R. 4-      (7 days after service of
5(c).                                          Responsive Claim
                                              Construction Brief)
Claim Construction Hearing, per Patent April 25, 2024, subject                 Same
L.R. 4-6.                                     to Court’s calendar
                                            (2 weeks after filing of
                                              Reply Construction
                                                      Brief)
Damages Contentions Meeting, per                 April 26, 2024                Same
Patent L.R. 3-10                                  (60 days after
                                             Responsive Damages
                                                  Contentions)
Case Management Conference to set            Subject to the Court’s           No Need
further deadlines                             availability, the first
                                             Thursday at least two
                                           weeks after the Court’s
                                          claim construction order
Each party relying upon advice of           Not later than 30 days             Same
counsel shall provide disclosures per          after service by the
Patent L.R. 3-7.                               Court of its Claim
                                              Construction Ruling
Parties to provide updated infringement     Not later than 30 days             Same
and invalidity contentions based on            after service by the
Court’s Claim Construction Ruling              Court of its Claim
                                              Construction Ruling
ADR Proceedings to be conducted              Not later than 45 days            Same
                                               after service by the
                                               Court of its Claim
                                              Construction Ruling
Close of fact discovery.                      To be determined in           July 31, 2024
                                          connection with the Case
                                          Management Conference
                                           following Court’s claim
                                               construction order
Parties asserting claims for relief shall     To be determined in       September 3, 2024
file their designation of testifying      connection with the Case
experts and serve on all parties, but not Management Conference
file, the materials required by Federal    following Court’s claim
Rule of Civil Procedure 26(a)(2)(B).           construction order


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                EVENT                         Dropbox Proposal          Entangled Media
                                                                            Proposal
Parties resisting claims for relief shall      To be determined in      September 3, 2024
file their designation of testifying        connection with the Case
experts and serve on all parties, but not   Management Conference
file, the materials required by Federal      following Court’s claim
Rule of Civil Procedure 26(a)(2)(B).            construction order
Parties shall file all designations of         To be determined in         October 3, 2024
rebuttal experts and serve on all parties   connection with the Case
the material required by Federal Rule       Management Conference
of Civil Procedure 26(a)(2)(B) for such      following Court’s claim
rebuttal experts, to the extent not             construction order
already served.
Close of Expert Discovery                    To be determined in           October 18, 2024
                                          connection with the Case
                                          Management Conference
                                           following Court’s claim
                                              construction order
Dispositive motions and objections to        To be determined in        November 1, 2024
the reliability of an expert’s proposed   connection with the Case
testimony under FRE 702 shall be          Management Conference
filed.                                     following Court’s claim
                                              construction order
Responses to dispositive motions and         To be determined in        December 2, 2024
objections to the reliability of an       connection with the Case
expert’s proposed testimony under FRE Management Conference
702 shall be filed and served on all       following Court’s claim
other parties.                                construction order
Replies in support of dispositive            To be determined in        December 16, 2024
motions and objections to the reliability connection with the Case
of an expert’s proposed testimony         Management Conference
under FRE 702 shall be filed and           following Court’s claim
served on all other parties.                  construction order
Trial                                        To be determined in       At the convenience of
                                          connection with the Case           the Court.
                                          Management Conference
                                           following Court’s claim
                                              construction order




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